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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


                                      )
ROTHSCHILD CONNECTED DEVICES          )
INNOVATIONS, LLC,                     )
                                      )
            Plaintiff,                )
                                      )
      v.                              ) Civil Action No. 2:15-CV-1573-JRG-RSP
                                      )
SMARTLABS, INC. D/B/A INSTEON,        )
                                      )
            Defendant.                )
                                      )
                                      )




              DEFENDANT SMARTLABS, INC. D/B/A INSTEON’S
      MOTION TO DISMISS THE COMPLAINT OF PLAINTIFF ROTHSCHILD
          CONNECTED DEVICES INNOVATIONS, LLC FOR FAILURE
          TO STATE A CLAIM PURSUANT TO FED. R. CIV. P. 12(b)(6)
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         Defendant Smartlabs, Inc. d/b/a Insteon (“Insteon”) moves under Federal Rule of Civil

Procedure 12(b)(6) to dismiss the complaint of Plaintiff Rothschild Connected Devices

Innovations, LLC (“Rothschild”) because the complaint fails to allege facts sufficient to support

causes    of   action   for   direct   and   indirect   infringement   of   the   asserted   patent,

U.S. Patent No. 8,788,090 (“the ’090 patent”).

                                       I. INTRODUCTION

         Rothschild has failed to plead factual alleges sufficient to render plausible Rothschild’s

conclusory and vague allegation that Insteon’s home automation system infringes the ‘090 patent

“either directly or through acts of contributory infringement or inducement . . .” (Compl., D.I. 1,

at ¶ 13.) Specifically, Claims 1-8 of the ‘090 patent all require a remote database. Yet,

Rothschild has not alleged any facts indicating that the Insteon home automation system includes

a remote database. The remaining claims all require a beverage dispenser or a product consumed

by a user such as a food or beverage. Insteon’s home automation system is not a beverage

dispenser or a consumable product, and thus, cannot be covered by any of the remaining claims.

         Moreover, although Rothschild asserts that Insteon has indirectly infringed the patent

“through acts of contributory infringement or inducement,” Rothschild failed to make even a

threadbare recitation of the elements required for contributory infringement and inducement.

Specifically, the complaint fails to allege that Insteon had knowledge of the asserted patent,

which is required for both contributory infringement and inducement. Further, the complaint

fails to allege the element of specific intent to infringe required for inducement, and fails to

allege the elements of materiality and of no substantial non-infringing uses required for claims of

contributory infringement.




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       Because Rothschild’s complaint fails to plead facts sufficient to plausibly allege direct

infringement and fails to even make a threadbare recitation of the elements of contributory

infringement and inducement, Rothschild’s complaint should be dismissed in its entirety.

                                      II. BACKGROUND

       The ’090 patent describes a system for making customized consumer products, such as

shampoos or beverages, using a remote database that stores product preferences for many users.

A user can specify the product and the user’s identity, and then the system communicates with

the remote database and customizes the product according to the user’s preferences (for example

by mixing the right proportions of ingredients).      See Compl. Ex. A at Col. 2-3.        In one

embodiment, the ’090 patent describes a beverage dispenser that mixes and dispenses beverages

according to a user’s preferences stored in a remote database. (see e.g., Compl., Ex. A at Figs. 4

and 5, Col. 6, lines 7-26.) Claims 1-8 of the ‘090 patent all require a remote database that stores

preferences for different users. All the remaining claims require a beverage dispenser or a

product that is consumed.

       Rothschild alleges that Insteon infringes at least Claim 1 of the ’090 patent “by making,

using, importing, selling, and/or offering for sale a customizable personal home automation

system and devices covered by one or more claims of the ’090 patent.” (Id. at ¶ 13.) Insteon’s

home automation system includes a hub that controls lights, switches, thermostats, audio

equipment, and other electronic devices in a home. (See Comp. ¶ 14.) Rothschild alleges that

“[t]he user can customize the state and/or operation of these components through the use of

preferences controlled via a device, such as a smart phone.” (Id.) Rothschild does not allege that

Insteon’s system includes a remote database or that the Insteon system stores a user’s preferences

anywhere other than the hub or the user’s smart phone.




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           III. STATEMENT OF ISSUES TO BE DECIDED BY THE COURT

       Whether Rothschild’s complaint, which alleges direct and indirect infringement of the

’090 patent, should be dismissed.

                                    IV. LEGAL STANDARD

       Until recently, plaintiffs pleading direct infringement of a patent only needed to comply

with Form 18 in order to avoid a motion to dismiss. See, e.g., K-Tech Telecomms., Inc. v. Time

Warner Cable, Inc., 714 F.3d 1277 (Fed. Cir. 2013) ((“And, as we made clear in R+L Carriers,

to the extent any conflict exists between Twombly (and its progeny) and the Forms regarding

pleading requirements, the Forms control”) (citations omitted).     But courts had expressed

misgivings about this type of pleading. The court in K-Tech even commented, “Any criticism

we may have regarding the sufficiency of the forms themselves is strictly proscribed by Supreme

Court precedent.” Id. at 1283 (citations omitted).

       In September 2014, the Judicial Conference of the United States decided to eliminate the

form complaint appendix from the Federal Rules of Civil Procedure, including the Form 18

pleading for patent infringement, as well as Rule 84, which enabled a plaintiff to rely on this

form complaint. See Memo from Judge Jeffrey Sutton, Proposed Amendments to the Federal

Rules of Civil Procedure, Appendix B-19 (stating that these forms “illustrate a simplicity of

pleading that has not been used in many years”). The Supreme Court approved these changes,

stating that the new rules “shall govern in all proceedings in civil cases thereafter commenced

and, insofar as just and practicable, all proceedings then pending.” See Letter from Justice

John Roberts to Mr. Speaker John Boehner regarding Proposed Amendments to the Federal

Rules of Civil Procedure (Apr. 29, 2015) (emphasis added). The changes officially went into

effect on December 1, 2015.




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       The limited pleading requirements of now-eliminated Form 18 stand in sharp contrast to

the more stringent pleading requirements set forth by the Supreme Court in Iqbal and Twombly.

Iqbal, 556 U.S. at 678 (2009); Twombly, 550 U.S. at 570 (2007). Now that the Iqbal and

Twombly pleading standard applies to claims for patent infringement, a complaint for patent

infringement must contain sufficient factual allegations to render the claim “plausible on its

face.” See, e.g., Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 570. This standard “requires more

than labels and conclusions, and a formulaic recitation of a cause of action’s elements will not

do.” Twombly, 550 U.S. at 545. “A claim has facial plausibility when the pleaded factual

content allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 663.

       For indirect infringement, whether contributory or induced, the Court must review the

facts pled in the complaint with reference to the elements of the cause of action to determine if

the claims are plausible. In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681

F.3d 1323, 1337 (Fed. Cir. 2012). Induced infringement requires that the alleged infringer (1)

knowingly induced infringement, and (2) specifically intended to encourage infringement. Id. at

1339. In order to establish contributory infringement, the patent owner must show: “(1) that

there is direct infringement, (2) that the accused infringer had knowledge of the patent, (3) that

the component has no substantial non-infringing uses, and (4) that the component is a material

part of the invention.” Fujitsu Ltd. v. Netgear, Inc., 620 F.3d 1321, 1326 (Fed. Cir. 2010).

                                        V. ARGUMENT

A.     The Complaint Lacks Allegations Sufficient to Support A Plausible Claim of Direct
       Infringement.

       Although this action was filed before December 1, 2015, when the new rules took effect,

it is “just and practicable” that the new pleading rules govern this case since the complaint was




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not served until December 7, 2015 – after the new rules took effect. See Letter from Justice John

Roberts to Mr. Speaker John Boehner (Apr. 29, 2015) (the new rules are to be applied to cases

filed before that December 1, 2015 where it is “just and practicable”). Thus, to survive this

motion to dismiss, Rothchild’s complaint “must plead ‘enough factual matter’ that, when taken

as true, ‘state[s] a claim to relief that is plausible on its face.’” In re Bill of Lading, 681 F.3d at

1331 (citing Twombly, 550 U.S. at 570 (2007)). To meet this plausibility standard, Rothschild

must plead “factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. Rothschild has failed to

do so.

         Rothschild alleges that Insteon “has infringed and continues to infringe one or more

claims, including at least claim 1, of the ’090 patent by making, using, importing, selling, and/or

offering for sale a customizable personal home automation system and devices covered by one or

more claims of the ’090 patent.” (Compl. at ¶ 13.) Claim 1 of the ’090 patent requires:

         A system for customizing a product according to a user’s preferences comprising:
                a remote server including a database configured to store a product preference of
                  a predetermined product for at least one user; and
                a first communication module within the product and in communication with the
                  remote server;
                wherein the remote server is configured to receive the identity of the
                  predetermined product and the identity of the at least one user, retrieve the
                  product preference from the database based on the identity of the predetermined
                  product and the identity of the at least one user and transmit the product
                  preference to the first communication module.

(Compl., Ex. A at Claim 1 (emphasis added).) Thus, a number of limitations in claim 1 require a

remote server and a database. Only Claim 1 and its dependent claims can be at issue here

because the remaining claims require “a product to be consumed by a user” or “a beverage

dispenser.” (Id. at Claims 9, 13.) It is clear that Insteon’s home automation system is not

consumed and is not a beverage dispenser.




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        Rothschild’s complaint fails to allege any facts that indicate that the Insteon home

 automation system includes a remote server or a database as required by Claim 1 of the ’090

 patent. Rothschild alleges that Insteon’s home automation system includes “the Insteon Hub and

 Insteon Hub Pro, networking equipment, apps, plug-in devices, lights, remotes, switches and

 keypads, sensors, outlets, thermostats, cameras, audio equipment, and lighting control systems,

 and similar systems and devices, . . .” (Compl. at ¶ 14.) None of these items is a remote server

 or a database. Rothschild further alleges that a user can customize the state and/or operation of

 these components through the use of preferences controlled via a device, such as a smart phone.

 (Id.) However, the ’090 patent does not cover every product that is customizable – rather Claims

 1-8 require a remote database that stores user preferences for that customization. Rothschild’s

 allegations do not support a “reasonable inference” that Insteon’s system includes a remote

 database as required for Insteon to be liable for the alleged misconduct. Iqbal, 556 U.S. at 678.

 Accordingly, Rothschild’s direct infringement claims should be dismissed as Rothschild fails to

 adequately plead a factual basis for direct infringement.

 B.     The Complaint Lacks Allegations Regarding the Requisite Knowledge and Specific
        Intent to Induce Infringement of the ’090 Patent.

        Even if Rothschild had adequately plead direct infringement, which it did not,

 Rothschild’s induced infringement claims fail for the independent reason that Rothschild failed

 to plead the knowledge and specific intent required for inducement. For a claim of induced

 infringement to survive a motion to dismiss, the party’s complaint must include facts that show:

 (1) direct infringement by another; and (2) that the defendant specifically intended its customers

 to infringe the patent and knew that the customer’s acts constituted infringement. DSU Med.

 Corp. v. JMS Co., 471 F.3d 1293, 1306 (Fed. Cir. 2006) (“[I]nducement requires that the alleged

 infringer knowingly induced infringement and possessed specific intent to encourage another’s




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 infringement.”) (internal quotations omitted); see also Achates Reference Pub., Inc. v. Symantec

 Corp., No. 2:11-CV-294-JRG-RSP, 2013 WL 693955, at *2 (E.D. Tex. Jan. 10, 2013), report

 and recommendation adopted, No. 2:11-CV-294-JRG-RSP, 2013 WL 693885 (E.D. Tex. Feb.

 26, 2013) (citing In re Bill of Lading, 681 F.3d at 1339). In this regard, the Supreme Court

 recently made it expressly clear that a claim for induced infringement “can only attach if the

 defendant knew of the patent and knew as well that ‘the induced acts constitute patent

 infringement.’” Commil USA, LLC v. Cisco Sys., Inc., 135 S. Ct. 1920, 1926 (2015) (quoting

 Global-Tech Appliances, Inc. v. SEB S.A., 131 S. Ct. 2060, 2068 (2011)). As the Supreme Court

 emphasized, a claim of induced infringement “requires proof the defendant knew the acts were

 infringing. And the Court’s opinion [in Global Tech] was clear in rejecting any lesser mental

 state as the standard.” Commil, 135 S. Ct. at 1928.

        Yet Rothchild’s complaint contains no factual allegations that even hint at the requisite

 knowledge and specific intent by Insteon to induce infringement. Rothschild’s complaint fails to

 allege that Insteon had any pre-suit knowledge of the ’090 patent.            Moreover, post-suit

 knowledge of a plaintiff’s infringement allegations does not, by itself, establish knowledge of

 infringement sufficient to support a claim for indirect infringement. See, e.g., Xpoint Techs., Inc.

 v. Microsoft Corp., 730 F.Supp.2d 349 (D. Del. 2010) (“[K]nowledge after filing of the present

 action is not sufficient for pleading the requisite knowledge for indirect infringement.”); see also

 Avocet Sports Tech., Inc. v. Garmin Int’l, Inc., No. C 11-04049, 2012 U.S. Dist. LEXIS 51650,

 at *16-17 (N.D. Cal. Mar. 22, 2012) (dismissing claims for failing to “allege[] any facts to

 suggest that [alleged infringer] had knowledge of the [asserted patent] prior to the filing of the

 Complaint”); Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-702-XR, 2011 U.S. Dist.

 LEXIS 86207, at *14-17 (W.D. Tex. Aug. 4, 2011) (same).




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        Rothschild also fails to allege specific intent to induce a third party to infringe the ’090

 patent. See In re Bill of Lading, 681 F.3d at 1339. Thus, its claim is insufficient as a matter of

 law. In fact, Rothschild does not even make a basic or boilerplate allegation of specific intent

 (which would similarly fail to satisfy the pleading requirements). See Iqbal, 556 U.S. at 678 (“A

 pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause

 of action will not do.’ Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of

 ‘further factual enhancement.’”) (internal citations omitted).

        Rothschild fails to make: (1) any allegation that Insteon knew that third parties were

 infringing the patents, much less factual allegations that would support such a conclusion; (2)

 any factual allegation or assertion that Insteon acted with the requisite specific intent; and (3) any

 factual allegation or assertion that Insteon even knew of the patents before Rothschild filed the

 complaint. Thus, Rothschild has failed to plead the elements of induced infringement. See

 Takeda Pharm. U.S.A., Inc. v. West-Ward Pharm. Corp., 785 F.3d 625, 630 (Fed. Cir. 2015)

 (providing “a lawful product by lawful means, [even] with the knowledge that an unaffiliated,

 third party may infringe, cannot, in and of itself, constitute inducement of infringement.”)

 (internal quotation marks omitted); U.S. Ethernet Innovations, LLC v. Cirrus Logic, Inc., No.

 6:12-cv-366-MHS-JDL, 2013 WL 8482270, at *4 (E.D. Tex. March 6, 2013) (finding that bare

 allegations that a defendant supplied an allegedly infringing system to its customers and

 provided those customers with “instructions” to utilize the system in an infringing manner are

 insufficient); Core Wireless Licensing S.A.R.L. v. Apple Inc., No. 6:14-cv-751-JDL, D.I. 60 at

 p. 7 (E.D. Tex. June 3, 2015) (recommending granting Apple’s motion to dismiss induced

 infringement because “generic allegations that an alleged infringer provides instructional




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 materials along with the accused products, without more, are insufficient to create a reasonable

 inference of specific intent for the purposes of an induced infringement claim”).

        Because Rothschild’s complaint fails to even recite the required elements for a claim of

 induced infringement, much less adequately plead a factual basis for the requisite knowledge and

 specific intent to induce infringement, Rothschild’s induced infringement claims should be

 dismissed.

 C.     The Complaint Lacks Allegations Establishing the Predicates for a Contributory
        Infringement Claim.

        Similarly, in addition to failing to plead direct infringement, Rothschild failed to plead

 the knowledge and intent required for contributory infringement. Contributory infringement

 requires: (1) direct infringement by someone; (2) that the accused contributory infringer have

 knowledge of the patents; (3) that a component provided by the accused contributory infringer

 have no substantial non-infringing uses; and (4) that the component be a material part of the

 invention. See Fujitsu, 620 F.3d at 1326 (Fed. Cir. 2010). The accused contributory infringer

 must also “know that the combination for which his component was especially designed was

 both patented and infringing.” Global- Tech., 131 S. Ct. at 2067 (internal quotation marks

 omitted); see also Commil, 135 S. Ct. at 1926 (“[C]ontributory infringement requires knowledge

 of the patent in suit and knowledge of patent infringement.”). Here, Rothschild’s claims should

 be dismissed because the complaint lacks allegations supporting a claim for contributory

 infringement. Indeed, Rothschild does not even make a bare allegation that Insteon had the

 requisite knowledge, let along any fact to support such a claim had it been made.

        Rothschild did not even attempt to make a threadbare recitation of the required elements

 of contributory infringement that (1) a component provided by the accused contributory infringer

 have no substantial non-infringing uses, and (2) the component is a material part of the




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 invention. See Iqbal, 556 U.S. at 678. Such a cavalier approach to pleading should not be

 accepted because it cannot satisfy Fed. R. Civ. P. 8 and the standards of Twombly and Iqbal. See

 Iqbal, 556 U.S. at 678 (“Threadbare recitals of the elements of a cause of action, supported by

 mere conclusory statements, do not suffice.”). For this reason alone, Rothschild’s allegations of

 contributory infringement should be dismissed.

        Moreover, Rothschild does not provide any factual information to support its claim, much

 less identify any component that is a material part of the invention. Rothschild makes the

 conclusory statement that the accused “systems and devices allow a user to remotely customize

 the operation of components in a house, such as lights or thermostats, for example. The user can

 customize the state and/or operation of these components through the use of preferences

 controlled via a device, such as a smart phone.” (Compl. at ¶ 14.) But Rothschild does not

 allege that this component is material or infringing, much less provide substantive information

 regarding how this alleged feature infringes the ’090 patent. (Id.) In this regard, Rothschild’s

 allegations lack factual assertions that would push its contributory infringement claim “across the

 line from conceivable to plausible.” Iqbal, 556 U.S. at 680 (quoting Twombly, 550 U.S. at 570

 (internal quotation marks omitted)). Thus, Rothschild’s claims of contributory infringement

 should accordingly be dismissed.

 D.     Alternatively, Rothschild Should Be Required To Provide a More Definite
        Statement of its Infringement Claims.

        In the event the Court determines that Rothschild’s complaint should not be dismissed,

 Insteon requests, pursuant to Fed. R. Civ. P. 12(e), that Rothschild provide a more definite

 statement of its infringement allegations. “If a pleading fails to specify the allegations in a

 manner that provides sufficient notice, a defendant can move for a more definite statement under

 Rule 12(e) before responding.” Swierkiewicz v. Sorema NA., 534 U.S. 506, 514 (2002).




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        Here, for all of the reasons detailed above, Rothschild’s allegations fail to plausibly plead

 direct and indirect infringement. The allegations are also so vague and conclusory as to frustrate

 Insteon’s efforts to prepare a responsive pleading and a meaningful defense. Accordingly,

 Rothschild should, at a minimum, be ordered to provide a more definite statement of its direct

 and indirect infringement claims.

                                       VI. CONCLUSION

        For the foregoing reasons, the Court should dismiss Rothschild’s claims for direct and

 indirect infringement of the ’090 patent pursuant to Rule 12(b)(6) for failure to state a claim

 upon which relief can be granted. Alternatively, the Court should require Rothschild to provide

 more definitive statements as to those allegations.



 Dated: December 28, 2015                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). As such, this motion was served on all counsel who have

 consented to electronic service, Local Rule CV-5(a)(3), on this the 28th day of December, 2015.

                                                        /s/ Jennifer P. Ainsworth
                                                        Jennifer P. Ainsworth




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